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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF
                                   ILLINOIS EASTERN DIVISION



KENT EUBANK, JERRY DAVIS, RICKY
FALASCHETTI, RITA CICINELLI, ROBERT
JOSEPHBERG, JEFFREY ACTON, KENNETH
HECHTMAN, JAMES NEIMAN, AMY
CHASIN and EDWARD RUHNKE, individually
and on behalf of all others similarly situated;



         Plaintiffs,                                              No.: 06 C 4481



         v.                                                       Honorable Sharon Johnson Coleman



PELLA CORPORATION, an Iowa corporation,                           Class Action
and PELLA WINDOWS AND DOORS, INC., a
Delaware corporation,



         Defendants.



     PLAINTIFFS’ OMNIBUS1 RESPONSE IN OPPOSITION TO FEE PETITIONS OF
    COMPLEX LITIGATION GROUP (DOC. 686) AND THEODORE FRANK (DOC. 683)




1
  To minimize presenting duplicative or repetitive argument and law, Plaintiffs respectfully submit this Omnibus
Response in opposition to the pending fee petitions. Plaintiffs reserve submitting a response to attorney John
Pentz’s fee petition in the event the Court grants Mr. Pentz’s motion (Doc. 689) for leave to file his petition out of
time. Plaintiffs oppose Mr. Pentz’s motion (Doc. 689) for leave to file out of time because Mr. Pentz’s terse and
unsubstantiated motion fails to articulate good cause for the requested relief. Mr. Pentz, who appears on the docket
as “Pro hac vice counsel attorney to be noticed”, fails to explain why he was “unaware” of the fee petition deadline
(to which Plaintiffs, Complex Litigation Group and Frank adhered) and “was alerted to the deadline only by the
filing of the Motion for Attorney’s Fees of Theodore Frank . . . .” (Doc. 689 at 1).
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        Plaintiffs, Kent Eubank, Jerry Davis, Ricky Falaschetti, Rita Cicinelli, Robert

Josephberg, Jeffrey Acton, Kenneth Hetchman, James Neiman, Amy Chasin and Edward

Ruhnke, on behalf of themselves and all others similarly situated (“Plaintiffs”), through their

counsel, respond in opposition to the fee petitions filed by Complex Litigation Group LLC

(“Complex Litigation Group”)2 (Doc. 686) and Theodore Frank (Doc. 683) as follows:

        Complex Litigation Group and Theodore Frank filed fee petitions in this matter. Both sets

of lawyers separately argue that their respective roles in this case are what ultimately caused the

case to reach the settlement preliminarily approved by the Court on February 16, 2018 (Doc.

675). Each petitioner argues that each added value to the settlement that otherwise would not

have been realized. With all due respect, none of these arguments has merit, and none of these

arguments warrants an award of attorneys’ fees to the respective petitioners.

                                      I.    Applicable Legal Standard

        “In a certified class action, the court may award reasonable attorney's fees . . . that are

authorized by law or by the parties' agreement.” Craftwood Lumber Co. v. Interline Brands, Inc.,

11-CV-4462, 2015 WL 1399367, at *1 (N.D. Ill. Mar. 23, 2015) (citing Fed.R.Civ.P. 23(h)). In

determining a reasonable fee, “the judge must assess the value of the settlement to the class and

the reasonableness of the agreed-upon attorneys' fees for class counsel, bearing in mind that the

higher the fees the less compensation will be received by the class members.” Id. (citing

Redman v. RadioShack Corp., 768 F.3d 622, 629 (7th Cir. 2014)).

        “Attorneys'   fees in class actions should approximate the market rate that prevails between

willing buyers and willing sellers of legal services.” Gehrich v. Chase Bank USA, N.A., 316

F.R.D. 215, 234 (N.D. Ill. 2016) (citing Silverman v. Motorola Sols., Inc., 739 F.3d 956, 957 (7th

2
 Complex Litigation Group, formerly known as “Freed & Weiss LLC”, is now known as “Quantum Legal LLC”.
(Doc. 686 at 1 & n. 1). For purposes of this Omnibus Response, Plaintiffs’ reference to Complex Litigation Group
also refers to Complex Litigation Group’s former and later iterations.

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Cir. 2013). “[C]ourts must do their best to award counsel the market price for legal services, in

light of the risk of nonpayment and the normal rate of compensation in the market at the time.”

In re Synthroid Mktg. Litig., 264 F.3d 712, 718 (7th Cir. 2001) (“Synthroid I”). Indeed, “the

central consideration is what class counsel achieved for the members of the class rather than how

much effort class counsel invested in the litigation.” Id. at 634. “Such estimation is inherently

conjectural,” In re Trans Union Corp. Privacy Litig., 629 F.3d 741, 744 (7th Cir. 2011), and the

Seventh Circuit does not prescribe a preferred method of calculation. “[I]n common fund cases,

the decision whether to use a percentage method or a lodestar method remains in the discretion

of the district court.” Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215, 235 (N.D. Ill. 2016)

(citing Americana Art China Co., Inc. v. Foxfire Printing & Packaging, Inc., 743 F.3d 243, 246–

47 (7th Cir. 2014)).

       Equally significant, disqualification of counsel generally prevents any entitlement to a

fee. See Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1156 (8th Cir. 1999) (the conflict of interest

of the firm in question constituted a serious violation of the firm's duty to the class, and that such

a violation required the termination of the firm's employment. Under these circumstances, the

district court could properly deny the firm any recovery for services rendered prior to the

disqualification, even if those services conferred some benefit on the class.); see also, In re

Marriage of Newton, 2011 IL App (1st) 090683, 955 N.E.2d 572 (“Where the ethical rules have

been violated and counsel has represented a party with conflicting, adverse interests, attorney's

purported good faith is irrelevant to question of whether or not attorney may collect

attorney fees. Rules of Prof.Conduct, Rule 1.9(a).).




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         When an objector recovers attorney's fees, the fee award is drawn from the settlement

fund, and the total award to the class is diminished. Kolinek v. Walgreen Co., 311 F.R.D. 483,

503–04 (N.D. Ill. 2015). Consequently, to recover fees, an objector must show that “his objection

has secured a benefit for the class that outweighs the fees he is seeking.” Mirfasihi v. Fleet

Mortg. Corp., 551 F.3d 682, 687–88 (7th Cir. 2008); see also Reynolds v. Beneficial Nat’l Bank,

288 F.3d 277, 288 (7th Cir. 2002) (“The principles of restitution that authorize [fee awards

to objectors] . . . require . . . that the objectors produce an improvement in the settlement worth

more than the fee they are seeking; otherwise they have rendered no benefit to the class.”). See

also Kolinek v. Walgreen Co., 311 F.R.D. 483, 503–04 (N.D. Ill. 2015).

         “As important to a proper evaluation of the objectors' contribution as the meagerness of

the relief that they obtained by extending the litigation by several years is the lack of constructive

activity in the district court.” Mirfasihi v. Fleet Mortg. Corp., 551 F.3d 682, 687 (7th Cir. 2008).

Similar to the objectors in Mirfasihi, in the instant case, the objectors did not propose terms of

settlement or otherwise participate constructively in the litigation other than to appeal. A proper

attorneys' fee award is based on success obtained and expense (including opportunity cost of

time) incurred. See, e.g., Farrar v. Hobby, 506 U.S. 103, 114–15 (1992); Hensley v.

Eckerhart, 461 U.S. 424, 435–37 (1983); Cole v. Wodziak, 169 F.3d 486, 487–88 (7th Cir.

1999).

                II.   Complex Litigation Group is not entitled to the fee sought.

         Complex Litigation Group was disqualified and removed from this case as a consequence

of their handling of this matter. See Doc. 412; Saltzman v. Pella Corp., 753 F.3d 718, 729 (7th

Cir. 2014) (Saltzman II) (“For starters, Saltzman, Paul Weiss, and Weiss’s firm, Complex



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Litigation Group, must be replaced as class representative (Saltzman), and as class counsel

(Weiss and his firm), respectively.”); see also Doc. 467-1, p.13:1 (transcript of 8/14/14

proceedings). The debacle caused delay, detracted from the bona-fide and necessary work-up of

this case, and ultimately resulted in a rejected settlement. Nevertheless, Complex Litigation

Group seeks compensation for “their time and expense in obtaining Class Certification . . . .”

(Doc. 686 at 1). Complex Litigation Group suggests that without class certification, the current

proposed settlement would have been legally impossible. Notably, that assertion is not supported

by any law or fact. Unquestionably, this Court and the Magistrate Judge oversaw, firsthand, the

settlement proceedings in this case and know precisely that class certification was not influential,

or even a factor, considered in the resolution of this matter.

       Indeed, none of the arguments presented by Complex Litigation Group has merit.

Petitioner cites class certification as the only basis for which Complex Litigation Group’s

petitioning this Court for a fee of $3.4 million dollars. In support of that argument, Complex

Litigation Group cites to news articles that referenced the class certification, all of which predate

the Seventh Circuit’s Saltzman II opinion reversing the settlement and removing Complex

Litigation Group as class counsel. See Doc. 412; Saltzman II, 753 F.3d at 729. That opinion was

unequivocal and powerful; it speaks for itself. Petitioner also cites purported risk undertaken in

the litigation, which has no import to the subject matter or analysis at hand. But, petitioner only

has its self to blame for any risk that it assumed—and lost—as a consequence of its own conduct.

Complex Litigation Group boldly, and erroneously, suggests that current Plaintiffs’ counsel

“relied heavily on the results Complex Lit obtained; in particular, the factual evidence Complex

Lit developed (including expert witnesses, statistical data analysis, and engineering analysis)

which underlies the current Settlement.” (Doc. 686 at 2). In actuality, the role of Complex



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Litigation Group, irrespective of its iterative firm names, in this litigation served only as a yoke

on the necks of Plaintiffs’ counsel and the class.

       Plaintiffs’ counsel emphasizes that although a file was transferred by Paul Weiss to

Plaintiffs’ counsel, the file was effectively useless. More specifically, no meaningful liability

discovery had occurred in the case. Discharged class counsel had agreed to engage in bifurcated

discovery (class versus merits discovery), including a Phase I and a Phase II, with Phase II

(merits discovery) never undertaken by prior counsel in the eight years it had the case.

Assuredly, the discovery concerning class certification was of no use to Plaintiffs’ counsel, and

the record from August 2014 through the present renders that fact crystal clear.

       In particular, any statistical analysis that had been done by prior counsel, which is not

readily evident in the record, does not remotely resemble the complex analysis submitted by

Plaintiffs’ counsel through their reliability experts Allise Wachs, Ph.D., and Fred Schenkelberg.

Similarly, experts used by prior class counsel for class certification were insufficient for culling

the necessary evidence on liability against Pella and for preparing the case for trial. Pleadings

and briefs submitted by prior counsel evince clearly that the theory of the case at that time was

merely nascent at best, a far cry the pleadings, papers and arguments submitted by Plaintiffs’

counsel after having conducted discovery. Petitioner attempted to identify the defect, but the

defect had not been adequately isolated or consistently described, including transitory periods of

design change. The discovery did not focus on the consumer fraud theory, which was the only

theory under which the case would proceed at trial. Irrefutably, not even the class representatives

selected by petitioner could remain in the case, because they either did not have the subject

ProLine casement windows (having, instead, different Pella window models not included in the

class) or they did not reside in the six states certified under 23(b)(3). Plaintiffs’ counsel had to



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replace the class representatives, defend and amend the pleadings, and undertake, for the first

time in the case, substantive merits discovery. Plaintiffs’ counsel did that in less than four years,

that is, in less than half the time petitioner had the file. As the Seventh Circuit articulated, much

was left undone while petitioner turned its attention to designing a settlement that placed

petitioner’s financial worries and interests first, at the expense of the class. Doc. 412; Saltzman

II, 753 F.3d at 721, 729.

       That the case was certified had no effect on the preparation of the case for trial or the

ability to reach a proposed settlement in the case. In fact, the certification as it existed was not as

useful as one would generally expect. Class certification in this case comprised six states on the

consumer fraud theory and a nationwide class for the prospect of declaratory relief. In either

instance, certification did not change the fact that causation and damages were individualized

thus elements expressly excluded from certification. For the six certified states, that meant, for

instance, that even if a Michigan class representative prevailed at trial, every Michigan consumer

still had to prove their own causation and damages. Likewise, if an Illinois class representative

prevailed at trial, every Illinois consumer would still have to prove his or her own causation and

damages. Unlike most cases with class certification, in this case, thousands of consumers would

be caused to prove causation and damages, to a jury, in a courtroom, with experts and with their

own counsel at their own cost and expense. Class certification typically provides a framework

that allows for the success of one to serve as the success for many; not so here. In this case, the

success of one class representative did not transfer or replicate to the other class members.

Similarly, if successful, the nationwide class was entitled to a trial. More specifically, at the first

multi-plaintiff trial, the Court may, based on the facts and law submitted at trial, enter some, all

or none of the declarations. The declarations, if entered in favor of Plaintiffs, would simply allow



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plaintiffs in other states to file the declarations in their own cause of action. Again, the class

certification expressly precluded actual or tangible relief for all. Instead, each consumer would

be subjected to prosecuting their own judicial or quasi-judicial proceeding and proving

substantial elements (causation and damages) of their claims in the hope of obtaining a favorable

judgment with tangible relief.

        Complex Litigation Group contends that Plaintiffs’ counsel “did not spend any effort to

justify certification . . . .” Indeed, for the reasons described above, the certification had no

influence on the resolution of this matter. Stated differently, a verdict in favor of Plaintiffs would

not and could not cause the parties and their counsel to think that the case was concluded for all.

Though petitioner argues that class certification would “place the Defendant at a risk of loss”, in

actuality, class certification in this case did not achieve that more typical result; there was no

such benefit conferred upon the class. Every class member would still have to prove damages

and causation. For the eight years Complex Litigation Group was engaged in this case, its only

achievement was a class certification that simply did not confer a benefit upon the class. More

importantly, the class certification was not a factor that caused the present settlement.


        Complex Litigation Group contends that the current settlement “is not a material

improvement” over its own discredited settlement effort. Petitioner further attempts to infuse

irrelevant remarks about Judges Posner and Zagel. None of these points is accurate or relevant to

Petitioner’s effort to justify compensation for “their time and expense in obtaining Class

Certification . . . .”

        Complex Litigation Group complains that Plaintiffs’ counsel did not return a voice

message and, more specifically, would not engage in a private discussion of fees. Frankly, given

the history of this case, Plaintiffs’ counsel strongly favor transparency and equally disfavor any


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private discussions with petitioner concerning fees. Plaintiffs’ counsel favor the involvement of

the Court in this instance of such a unique and well-known case history. The statement by

petitioner that “Current Class Counsel intends to cut out Complex Lit from the division of fees”

indicates that petitioner does not quite appreciate the case history and the extent to which

consumers openly expressed anger over the work of Complex Litigation Group and that work’s

consequent delay.

       Furthermore, Complex Litigation Group claims to seek compensation for the class

certification, but nevertheless argues that Complex Litigation Group originated the case,

conducted discovery, created liability and damage theories, retained and paid experts, and

obtained class certification. Petitioner does not acknowledge that a nearly identical case had been

filed by George Lang in Florida state court nearly three years prior to George Lang filing the

case for Freed & Weiss in 2006; that the discovery was only class discovery and woefully

inadequate for proving any theory of liability; that the theory of liability developed for class

certification was not sufficient for the trial of this case; that the experts were not sufficiently

vetted and qualified to be used in the merits phase of the case; and that the class certification did

not influence the outcome of this matter, except in that it would ensure each consumer had a

required burden of proof for both causation and damages.

       Complex Litigation Group argues that it is seeking compensation for class certification,

submitting 7,312.20 hours. Petitioner offers to the Court that it has excluded the time spent

arguing in the Seventh Circuit, where the petitioner was relieved of its role in this case, for what

it did and did not do. Petitioner notes that it has excluded the time of disbarred attorney, Paul

Weiss, and the time of his wife, Jamie Weiss, whose father was then-plaintiff, Leonard Saltzman.

None of this is as commendable as petitioner suggests. The Seventh Circuit’s opinion concerning



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the petitioner’s handling of this matter, and the underlying facts, should cause petitioner to

withdraw its petition or cause this Court to deny the petition in its entirety. Discharged counsel

admonished by the Seventh Circuit should not be awarded a fee. Consumers who contacted

Plaintiffs’ Counsel, by both phone and email, do not support a fee to Complex Litigation Group.

More likely, a reasonable consumer would not pay for the services provided in this case by

Complex Litigation Group, and, frankly, the handling of the case, as it were, should not be

rewarded with a fee. In particular, attorneys who step into a case after counsel are discharged

should not compete with the discharged attorneys for a fee in the case for which the class was

abandoned and sold out by the petitioning attorneys.

       Moreover, Complex Litigation Group has submitted time for George Lang (2,746.1

hours) without the knowledge or consent of Mr. Lang. Mr. Lang was an employee at the time of

the work in question. However, Complex Litigation Group taunts in its brief that Mr. Lang will

not likely say the work he completed did not confer a benefit upon the class. This is not a game

as portrayed by petitioner. After the wipeout of the first settlement, largely driven by Mr. Lang’s

objection to the settlement, Mr. Lang legitimately sought a leadership position from the Court.

He offered to actually work the case. Complex Litigation Group made no similar contribution to

the case. In Plaintiffs’ pending fee petition (Docs. 687 and 688), Mr. Lang did not submit the

time attributed to him by petitioner. Petitioner in its earlier pleadings notoriously criticized Mr.

Lang, but now Mr. Lang’s work in the case comprises a significant portion of petitioner’s hours

submitted. Petitioner’s motion should be denied.

       Complex Litigation Group argues that its pre-suit research conferred a benefit on the

class. However, similar cases had been filed, including one involving George Lang prior to his

employment by Freed & Weiss. Moreover, the pre-suit discovery was accomplished through



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counsel’s father-in-law. None of this conferred a benefit upon the class. In fact, had the pre-suit

research been anywhere near thorough, petitioner would have quickly realized that it could not

represent named plaintiff Saltzman in the case to begin with. The class would not have lost time

in the prosecution of this matter.

       Complex Litigation Group argues that it next developed claims for consumer fraud and

warranty claims and drafted a complaint. Again, whatever drafts petitioner may have prepared

did not confer a benefit upon the classes. There was plenty of motion practice against the

petitioner’s complaint (see, e.g., Class Counsel Shannon McNulty’s Declaration in support of

Plaintiffs’ Motion for Preliminary Approval, Doc. 672-6, see also Doc. 688 at 9-11) and

petitioner contributed nothing to the current pleadings, particularly in response to the changes

that occurred in state consumer law while the case was pending on appeal as a consequence of

petitioner’s handling of the case.

       Complex Litigation Group retained experts who conferred no benefit upon the class and

were insufficient for use in the preparation of this case for trial. The content and scope of the

reports or Mr. Still and Mr. Gjovik, when compared with the reports of Plaintiffs’ experts, only

underscore the lack of work performed by prior counsel on the actual merits of the case.

       Complex Litigation Group suggests that its multiple briefs on the issue of class

certification conferred a benefit, but does not, and cannot, quantify that supposed benefit.

Nevertheless, after petitioner had been discharged from the case, Plaintiffs’ counsel engaged in

motion practice, including the successful briefing of a motion to decertify and motions to

dismiss. It was current Plaintiff’s counsel who ultimately obtained an order from the Court

requiring Pella to answer the complaint.




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       Complex Litigation Group contends that it was caused to transition the case and take calls

from consumers. Undeniably, the fact of petitioner having to take calls is a consequence of the

firm’s own hand. Moreover, the transition existed only to the extent that Paul Weiss emailed

files, which were incomplete and thus caused Plaintiffs’ counsel to ask Pella to reproduce on a

flash drive everything in the case, which Pella facilitated. To be clear, there were no meetings,

and there were no efforts to seek input or work product from prior class counsel.

       Complex Litigation Group did not confer a benefit on the class. In actuality, their conduct

caused a rejected settlement, protracted proceedings and a delay in what should have always

been the preparation of this case for trial. The consumers were adversely affected by petitioner’s

involvement in this matter. Petitioner has not, and cannot, point to a specific benefit that

translated into actual dollars for the class. Moreover, the fee petition overlooks all of what

created the failed settlement and protracted proceedings. Undeniably, in August 2014, when

Plaintiffs’ counsel were appointed lead, after eight years in suit, the case had yet to begin merits

discovery and was in no way ready for trial. Indeed, Plaintiffs’ counsel was still defending

pleadings and the very narrow theory under which the case could proceed.

       Petitioner further fails to acknowledge that the case was not merely about the existence of

a defective design (which Plaintiffs’ counsel, and not the petitioner, isolated and identified), but

rather, the case was a consumer fraud case. That is, the fact remains that the case must rest upon

the consumer fraud laws of each certified state, and that did not confer a benefit to a class,

particularly where petitioner developed no evidence as to what specific misrepresentation Pella

conveyed to consumers and what specific fraud was perpetrated by Pella on consumers. Nor did

petitioner develop any evidence as to how or when Pella knew or should have known of the

defect, such that its misrepresentations constituted an unfair or deceptive practice. Plaintiffs’



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counsel developed that evidence and prepared this case for trial. That is what brought relief to

consumers.

         Whatever perceived benefit Complex Litigation Group supposes it secured for the class is

marginal at best, has not been clearly identified or valued, and its value is nowhere near the $3.4

million in attorney's fees they now seek. See Kolinek v. Walgreen Co., 311 F.R.D. 483, 504

(N.D. Ill. 2015). Complex Litigation Group should not be rewarded for having been ejected

from this case. Consequently, Complex Litigation Group’s fee petition should be denied in its

entirety.

                       III.     Theodore Frank is not entitled to the fee sought.

         Theodore Frank claims entitlement to a fee of $1.5 million dollars. Mr. Frank suggests

that his representation of only one of four objectors to the prior settlement, objector Michael J.

Schulz3, is the reason for the current settlement. More specifically, Frank contends that because

of his and Christopher Bandas’ representation of Mr. Schulz, the current settlement is worth at

least $15 million more than the original, failed settlement. Quite notably, Frank does not mention

the four years of expensive and time consuming litigation that ensued after the objectors (led by

Co-lead Class Counsel George Lang) argued in the Seventh Circuit, and the case was remanded.

         Moreover, the $1.5 million dollars sought is not only for Mr. Frank. Mr. Frank submits

that he will share part of that fee with Mr. Schulz’s other lawyer, Mr. Bandas, who allegedly

represented Mr. Schulz before engaging Frank for the purpose of objecting. The petition does not

reveal what Mr. Bandas would conceivably receive from Frank4, nor does the petition submit

3
  Michael J. Schulz is an expert witness on the subject of investigations of fires and explosions frequently retained
by attorneys engaged in litigation. He has testified in federal and state courts across the country. See
http://www.mjschulz.com/home html.
4
  In is petition, Frank notes, “At first, Bandas made the sole appearance on behalf of Schulz, while Frank ghostwrote
briefs on behalf of Bandas. Frank performed the great majority of appellate work on behalf of Schulz . . . . Bandas
is not submitting a separate fee request; he will receive a portion of any fees that are awarded to Frank.” (Doc. 683
n.1).

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time for work performed by Mr. Bandas, who Frank candidly concedes “was unable to report

with accuracy the time that he spent representing Schulz during the objection and appeal.” (Doc.

683, n. 7).5 Lastly, Mr. Frank seeks $2,000.00 for Mr. Schulz6.

         Notably, Mr. Schulz, and his attorneys Christopher Bandas and Peter Higgins, have

previously collaborated on filing objections to class settlements. Indeed, the objections filed by

Schulz in other cases are consistent with the type of objections made in this case, and often

denied. (See Exhibits A, B & C, attached). The routine manner in which Messrs. Bandas and

Higgins object in class cases, including with the use of Mr. Schulz as the class member-objector,

clearly made easier Mr. Frank’s objection in this case. Mr. Frank elected to work with serial

objectors who know their way around the objection and fee-petition processes.

         Most recently, and relevant to this fee petition, Mr. Bandas, with whom Mr. Frank has

sought to share his bid for a fee, has been the subject of a motion for Rule 11 Sanctions, in which

the District Court observed Mr. Bandas’ behavior as “an unseemly effort to extract fees from

class counsel in exchange for the withdrawal of a meritless objection to the proposed class

settlement.” Garber v. Office of Comm'r of Baseball, 12-CV-03704 (VEC), 2017 WL 752183, at

*4 (S.D.N.Y. Feb. 27, 2017). The court in Garber specifically cited the instances in which Mr.

Bandas filed frivolous objections in an effort to obtain a fee, noting that:

         [n]umerous courts throughout the country have publicly excoriated Bandas for the
         frivolous objections that he has penned and injected into class action settlements.
         A district court in California, for example, wrote, “Bandas routinely represents


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  Even when the interests of the class are not impacted, courts can refuse to enforce private agreements that are or
have become inappropriate. See, In re Volkswagen & Audi Warranty Extension Litigation, 89 F. Supp. 3d 155, 182-
83 (D. Mass. 2015), collecting cases. See also, Paul B. Episcope, Ltd. v. Law Offices of Campbell & Di Vincenzo,
373 Ill. App. 3d 384, 392, 869 N.E.2d 784, 791 (2007), where the court held that in Illinois, joint venture fee sharing
agreements are recognized, but to be valid pursuant to [then] Rule 1.5(f), they must be in writing, signed by the
client, and “the writing must not only authorize a division of fees, but also must set out the bases for the division,
including the respective responsibility to be assumed and economic benefit to be received by the other lawyer.”
6
  Mr. Schulz claims to have received a notice of the initial settlement. (Doc. 316-6). As of June 19, 2018, Mr. Schulz
had not yet filed a claim in the current settlement.

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       objectors purporting to challenge class action settlements, and does not do so to
       effectuate changes to settlements, but does so for his own personal financial
       gain.” Amended Order Granting Indirect Purchaser Plaintiffs' Motion to Compel
       Discovery from Objector Sean Hull (hereafter, “CRT Order”) at 4, In re Cathode
       Ray Tube (CRT) Antitrust Litigation, No. CV-07-5944 (N.D. Cal. April 16, 2012),
       Dkt. 1155.12 Similarly, a court in Illinois found: Bandas is a professional objector
       who is improperly attempting to “hijack” the settlement of this case from
       deserving class members and dedicated, hard working counsel, solely to coerce
       ill-gotten, inappropriate and unspecified “legal fees.” Bandas has filed virtually
       identical, frivolous objections in South Carolina, Iowa, Missouri and Florida in
       settlements of similar [ ] class actions. *6 Order Denying Objections to the
       Settlement and Fees and the Motion to Intervene and for Pro Hac Vice
       Admission, at 2, Brown v. Wal-Mart Stores, Inc., No. 01 L 85 (Ill. Cir. Ct. Oct.
       29, 2009). Garber v. Office of Comm'r of Baseball, 12-CV-03704 (VEC), 2017
       WL 752183, at *5–6 (S.D.N.Y. Feb. 27, 2017).

Garber, 2017 WL 752183, at *4.

       Ultimately, the Garber court concluded that Mr. Bandas is a “professional objector.” Id.

Nonetheless, because Mr. Bandas had not filed an actual appearance in Garber, the court did not

believe it had jurisdiction to sanction Mr. Bandas. In 2014, Mr. Bandas was the subject of an

Order to Show Cause against Mr. Bandas on the grounds that (1) Mr. Bandas and/or his

employees affixed the “signature” of Mr. Blanchard on a document or documents filed with the

Court; (2) Mr. Bandas ghost-wrote the second objection filed by Mr. Blanchard, pro per; and (3)

Mr. Bandas caused objections to be filed for the improper purpose of pressuring the settling

parties to pay a significant amount of money to make the objections go away. As in Garber, Mr.

Bandas had not filed an actual appearance, thus causing the court to conclude that it lacked

personal jurisdiction over Mr. Bandas, who has never appeared in this case. In re Hydroxycut

Mktg. & Sales Practices Litig., 09CV1088 BTM KSC, 2014 WL 815394, at *2–3 (S.D. Cal.

Mar. 3, 2014). See also Chambers v. Whirlpool Corp., 214 F. Supp. 3d 877, 891 (C.D. Cal.

2016), in which Mr. Bandas and his co-counsel were identified by the court as a “serial objectors



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who are well-known for routinely filing meritless objections to class action settlements for the

improper purpose of extracting a fee rather than to benefit the Class.”

         Perhaps the most shocking culmination of Mr. Bandas’ misadventures is the February 6,

2018, order signed by Judge Pallmeyer, which sets forth Mr. Bandas’ modus operandi, namely,

his use of an objector to set up an appeal in the hope of gaining payment for himself. Edelson PC

v. Bandas Law Firm PC, 16 C 11057, 2018 WL 723287, at *14 (N.D. Ill. Feb. 6, 2018). Judge

Pallmeyer noted the court’s hope that “if there is ultimately no remedy for Plaintiff in this case,

courts presiding over class actions will craft effective means to deter the alleged behavior of

Bandas, Palmer, and other attorneys who seek private gain at the expense of deserving class

members.” Id.

         There is no pending motion for sanctions in this case; however, the history and well-

documented pattern of Mr. Bandas’ behavior, coupled with Mr. Frank’s criticism of other self-

dealing counsel, cause one to consider whether Mr. Schulz had a legitimate basis to object, or if

it was merely a contrived objection for the purpose of chasing a fee. Worth noting, Mr. Frank

does not specifically detail his time in the case, and Mr. Bandas submits no time record at all,

despite seeking to partake in the fee.7

         In this case, the Court should not reward the conduct of the petitioners. The class should

not be caused to pay Mr. Frank for having appeared to restate the plain and obvious deficiencies

of the first settlement. Nor should the class pay Mr. Frank for the purpose of paying Mr. Bandas

who is notorious for meritless objections and appeals, all for the singular point of obtaining a

pay-off. To reward the conduct would only reinforce and incentivize bad actors.



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 Along these lines, Frank notes in his petition, “In cases where [Frank’s firm] the Center did not have a client, such
as this one, Frank has worked as a private attorney on appellate issues if he found merit in the objection.” (Doc. 683
at 1) (emphasis added).

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       Equally notable, Mr. Frank bases his fee petition on a few key, but flawed, concepts.

First, Mr. Frank suggests that he was the reason that the Seventh Circuit remanded the case. Of

course, Mr. Frank’s objector was not the first to file the notice of appeal; that was done on behalf

of Mr. Lang’s clients. (Doc. 359). Additionally, the settlement’s deficiencies were sufficiently

evident such that the United States Seventh Circuit Court of Appeals was apprised of the

problems well-before Mr. Frank presented oral argument. Though all counsel argued well before

the Court, Mr. Frank did not successfully argue a new settlement, a viable theory for the case on

the merits, a discovery plan to gain concrete evidence to support a theory of the case and present

in response to summary judgment and at trial, or the like. And that point is critical to the

analysis. Mr. Frank argued the obvious fatal flaws of the settlement, but the flaws were not so

subtle or nuanced so as to be seen by only him. Mr. Lang was first to bring those to the Seventh

Circuit’s attention. (Doc. 467-1, pp. 9-10). Secondly, Mr. Frank does not address the fact that the

case was not settled shortly after his argument. Occasionally, an objector can argue in a way that

causes the parties to reform a proposed settlement, then-and-there. That was not the case here.

Instead, Plaintiffs’ counsel assumed the risk, expended all necessary resources, and prepared the

case for trial. Trial preparation was the reason this case reached the point of a preliminary

settlement; not because obvious objections were supplied to the Seventh Circuit nearly five years

ago.

       Finally, if Mr. Frank or Mr. Bandas were genuinely interested in this case, either or both

of them could have sought appointment as a lead counsel, as Mr. Lang did. Neither sought to

become involved in the case; nor did Mr. Schulz seek to serve as a class representative. None are

entitled to a fee or a service award.

                                        IV.    Conclusion



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        For the foregoing reasons, Plaintiffs’ counsel opposes any payment of fees to Complex

Litigation Group, Mr. Frank and Mr. Bandas. The Court should deny the petitions in their

entirety.

DATED: June 20, 2018                          Respectfully submitted,


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                               CERTIFICATE OF SERVICE


       I certify that on June 20, 2018, a copy of the foregoing PLAINTIFFS’ OMNIBUS
RESPONSE IN OPPOSITION TO FEE PETITIONS OF COMPLEX LITIGATION GROUP
(DOC. 686) AND THEODORE FRANK (DOC. 683) was filed and served on all counsel of
record via the Court’s CM/ECF electronic filing system.

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